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                    1   MICHAEL L. HINCKLEY (CSBN 161645)
                        LIDIA S. STIGLICH (CSBN 182100)
                    2   STIGLICH & HINCKLEY, LLP
                        502 Seventh Street
                    3   San Francisco, California 94103
                        Tel: 415-865-2539
                    4   Fax: 415-865-2538
                    5   Attorney for Defendant
                        DAVID DOMINGUEZ
                    6
                    7                                           UNITED STATES DISTRICT COURT
                    8                                        NORTHERN DISTRICT OF CALIFORNIA
                    9                                                 SAN FRANCISCO DIVISION
                   10
                        UNITED STATES OF AMERICA,                                      Case No. CR 05 00117 PJH (JCS)
                   11
                                             Plaintiff,
                   12
                              v.                                                       STIPULATION AND [PROPOSED]
                   13                                                                  ORDER RE: TRAVEL REQUEST
                        DAVID DOMINGUEZ, et. al
                   14
                                             Defendants.
                   15
                                                                             /
                   16
                   17              Defendant DAVID DOMINGUEZ, by and through his counsel Michael L. Hinckley and
                   18   the United States of America, through Assistant United States Attorney David Hall, hereby
                   19   stipulate and agree to that Mr. Dominguez pretrial release conditions be modified such that he be
                   20   granted permission to travel from his present residence in Santa Rosa, California to Las Vegas,
                   21   Nevada (Clark County) within the time period of May 13, 2006 to May15, 2006, so that he and
                   22   his wife may celebrate their 9th wedding anniversary.
                   23
                   24
                   25   ///
                   26   ///
                   27   ///
                   28
                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
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                    1              The Assistant United States Attorney, David Hall, has been informed of this travel
                    2   request and has no objection. Mr. Dominguez’s assigned United States Pretrial Services Officer,
                    3   Timothy Elder, has been informed of this request and has no objection.
                    4
                    5
                                  IT IS SO STIPULATED.
                    6
                    7   Dated: 04/14/2006                                                /S/
                                                                          MICHAEL L. HINCKLEY
                    8                                                     Attorney for Defendant
                                                                          DAVID DOMINGUEZ
                    9
                   10
                   11   Dated: 04/ 14 /2006                       .                  /S/
                                                                          DAVID HALL
                   12                                                     Assistant United States Attorney
                   13
                   14
                   15                                                     ORDER
                   16             Pursuant to stipulation, Mr. Dominguez’s pretrial release conditions are hereby modified
                   17   such that he is permitted to travel from his present residence in Santa Rosa, California to Las
                   18   Vegas, Nevada (Clark County) within the time period of May 13, 2006 to May15, 2006. All
                                                                                             S DISTRICT
                   19   other conditions of release to remain.                            ATE           C
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                   20             IT IS SO ORDERED.
                                                                                                                   RT
                                                                               UNIT




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                        Dated:       April 21, 2006                   .
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                   22                                                     HON. JOSEPH eC.       ph C. S
                                                                                               SPERO
                                                                               NO




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                                                                          United States Magistrate Judge
                                                                                  RT




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                        U.S. v. DAVID DOMINGUEZ, CR 05-00117 PJH
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                    1
                                                                      PROOF OF SERVICE
                    2
                    3             I, the undersigned say:
                    4             I am over eighteen years of age and not a party to the above action. My business address
                    5   is 1306 Pine Street, Walnut Creek, California 94596.
                    6   On 4/20/06, I personally served via U.S. Mail a copy of the
                    7   attached on the following:
                    8
                                                          Tim Elder
                    9                                     Pretrial Services Officer
                                                          San Francisco, California 94102
                   10
                   11
                                  I declare under penalty of perjury that the foregoing is true and correct. Executed on
                   12
                   13   4/20/06, at Walnut Creek, California.
                   14
                        Dated: 04/14/2006                                                    /S/
                   15                                                         MICHAEL L. HINCKLEY
                                                                              Attorney for Defendant
                   16                                                         DAVID DOMINGUEZ
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